                        Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 1 of 24 PageID #: 7

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                     21SL-CC03859 - BENJAMIN RUBY V BUILD-A-BEAR WORKSHOP, INC. (E-CASE)

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 08/30/2021            Summons Personally Served
                       Document ID - 21-SMCC-7544; Served To - BUILD-A-BEAR WORKSHOP, INC.; Server - ; Served Date - 25-
                       AUG-21; Served Time - 00:00:00; Service Type - Special Process Server; Reason Description - Served

 08/25/2021            Affidavit Filed
                       Affidavit of Service; Electronic Filing Certificate of Service.
                           Filed By: CHRISTOPHER ELISHA ROBERTS
                           On Behalf Of: BENJAMIN RUBY

 08/24/2021            Entry of Appearance Filed
                       Entry of Appearance; Electronic Filing Certificate of Service.
                          Filed By: DAVID THRIFT BUTSCH
                          On Behalf Of: BENJAMIN RUBY
                       Summons Issued-Circuit
                       Document ID: 21-SMCC-7544, for BUILD-A-BEAR WORKSHOP, INC..Summons Attached in PDF Form for
                       Attorney to Retrieve from Secure Case.Net and Process for Service.
                       Filing Info Sheet eFiling
                           Filed By: CHRISTOPHER ELISHA ROBERTS
                       Motion Special Process Server
                       Motion to Appoint Special Process Server.
                         Filed By: CHRISTOPHER ELISHA ROBERTS
                         On Behalf Of: BENJAMIN RUBY
                       Pet Filed in Circuit Ct
                       Petition.
                          Filed By: CHRISTOPHER ELISHA ROBERTS
                       Judge Assigned
                       DIV 12
Case.net Version 5.14.24                                                Return to Top of Page                                    Released 09/07/2021




                                                                                                                       Exhibit

                                                                                                                          A
                                                                                                                                          Privacy - Terms
                                                                                                     Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
     Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 2 of 24 PageID #: 8
                                                                             21SL-CC03859

                     IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                STATE OF MISSOURI

BENJAMIN RUBY, individually, and on          )
behalf of all others similarly situated,     )
                                             )
       Plaintiff,                            )
                                             )      Case No.
v.                                           )
                                             )      Division
BUILD-A-BEAR WORKSHOP, INC.                  )
                                             )      JURY TRIAL DEMANDED
Serve registered agent at:                   )
Tina Klocke                                  )
1954 Innerbelt Business Center Drive         )
St. Louis, Missouri 63114                    )
                                             )
       Defendant.                            )


                                 CLASS ACTION PETITION

       Plaintiff Benjamin Ruby, through his undersigned counsel, brings this Class Action

Petition against Defendant Build-a-Bear Workshop, Inc. (“Build-a-Bear”), and states as follows:

                                       INTRODUCTION

       1.      This case concerns Build-a-Bear’s violations of the Telephone Consumer

Protection Act (TCPA) and its regulations by sending two or more text messages to members of

the Do Not Call Registry without their consent in a 12-month period.

       2.      In the early 1990s, Congress enacted the TCPA to protect consumers’ privacy

rights, namely, the right to be left alone from unwanted telemarketing calls. A leading sponsor of

the TCPA described unwanted telemarketing calls as “the scourge of modern civilization.” 137

Cong. Rec. 30821 (1991).

       3.      The TCPA and its corresponding regulations afford special protections for people

who registered their cell phone numbers on the National Do Not Call Registry. Specifically, the
                                                                                                      Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
     Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 3 of 24 PageID #: 9




TCPA provides that each person who receives more than one call on their cell phone after being

registered on the National Do Not Call Registry is entitled to recover a penalty of $500 per call,

and up to $1,500 per call if the TCPA is willfully or knowingly violated.

       4.      Plaintiff is a member of the Do Not Call Registry.

       5.      Build-a-Bear sent Plaintiff unwanted text messages, and expressly and repeatedly

revoked his consent. By continuing to send unwelcome text messages to Plaintiff after he revoked

consent, Build-a-Bear violated the TCPA and its regulations.

       6.      Plaintiff brings this TCPA action individually, and on behalf of all those similarly

situated, to seek redress for Build-a-Bear’s wrongful conduct.

                                            PARTIES

       7.      Plaintiff Benjamin Ruby is an individual who resides in Louisville, Kentucky.

       8.      Defendant Build-a-Bear Workshop, Inc. is a Delaware corporation with its

principal place of business in St. Louis County at 1954 Innerbelt Business Center Drive, St. Louis,

Missouri.

                                  JURISDICTION AND VENUE

       9.      In addition to its headquarters being in St. Louis County, Build-a-Bear conducts

substantial business in St. Louis County, including, but not limited to sales and marketing of

stuffed animals and characters.

       10.     This Court has personal jurisdiction over Build-a-Bear because it has solicited

business in the State of Missouri, conducts business in the State of Missouri, has committed the

acts described below in the State of Missouri and otherwise has sufficient minimum contacts with

the State of Missouri.




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                                                                                                       Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 4 of 24 PageID #: 10




       11.     Venue is proper in this Court because a substantial portion of the events giving rise

to the claims asserted in this Petition occurred in St. Louis County, Missouri.

                                  FACTUAL ALLEGATIONS

       12.     Build-a-Bear is in the business of selling and marketing stuffed animals and

characters. According to its website, Build-a-Bear has sold 160 million stuffed dolls. According

to its 2020 Form 10-K filed with the Securities and Exchange Commission, Build-a-Bear conducts

business through its website and operates 305 stores in the United States. Pursuant to these

operations, Build-a-Bear maintains a database with information about more than 10 million

consumers.

       13.     Through the Do Not Call Registry maintained by the Federal Trade Commission,

consumers may register their telephone numbers and express their unwillingness to receive

unsolicited text messages.

       14.     Plaintiff registered his mobile phone number, 270-871-XXXX, with the Do Not

Call Registry on May 4, 2008.

       15.     Plaintiff purchased three stuffed animals through Build-a-Bear’s website in August

2020. To the best of his knowledge, Plaintiff was not aware of consenting to receiving text

messages from Build-a-Bear.

       16.     In November 2020, Build-a-Bear began texting Plaintiff text messages to his

mobile phone via SMS short code 34345. Each text started with the abbreviation “BABW,” short

for “Build-a-Bear Workshop.” The text messages promoted the sale of stuffed animals and

supplied short hyperlinks to the Build-a-Bear website or social media.

       17.     On November 18, 2020, Build-a-Bear sent the following text message to Plaintiff:




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                                                                                                   Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 5 of 24 PageID #: 11




               BABW: Good Morning, Friend! Join us today for Merry Gifting
               LIVE. Deal reveals, great gift ideas and more. Starts at 10am CST
               and Facebook https://bit.ly/36Sn24y

       18.     On November 25, 2020, Build-a-Bear sent the following text message to Plaintiff:

               BABW: Friend, guess what? You can save for Black Friday! Furry
               friends starting online at $8 and more deals. Shop now for your Nice
               List. https://bit.ly/35Vtetc

       19.     On November 29, 2020, Build-a-Bear sent the following text message to Plaintiff:

               BABW: Psst! Do not miss out, Friend! CyBEAR Monday starts
               NOW. Take 40% off furry friends online and save on more deals!
               https://bit.ly/2JhY2f5

       20.     Later on November 29, 2020, Plaintiff responded by texting “Stop” twice. Build-a-

Bear replied twice with the following message:

               You have been opted out and will receive no further messages from
               Build-A-Bear Alerts, 877-789-2327 and Guest.Services
               @buildabear.com for assistance.

       21.     Notwithstanding Plaintiff’s purported opt out, on December 7, 2020, Build-a-Bear

sent the following message to Plaintiff:

               BABW: The Christmas Countdown is on, Friend! Furry friends start
               at $8 online for a limited time. It’s not too late to deliver hugs in
               time! www.buildabear.com.

       22.     Plaintiff against responded by texting “Stop.” Build-a-Bear again replied,

               You have been opted out and will receive no further messages from
               Build-A-Bear Alerts, 877-789-2327 and Guest.Services
               @buildabear.com for assistance.

       23.     Notwithstanding Plaintiff’s repeated attempts to opt out, on December 17, 2020,

Build-a-Bear sent the following message to Plaintiff :

               BABW: We’ve got your back, Friend! Make unique gifts online and
               select pickup in store or NEW same-day delivery! You’ve got this,
               Santa! https://bit.ly/34l5k9f




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    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 6 of 24 PageID #: 12




       24.     Later on December 17, Plaintiff texted back in frustration, “I’ve told you to stop

quit harassing me.” Build-a-Bear replied, “Sorry, we’re unable to reply to individual text messages.

We invite you to check out all the fun stuff on buildabear.com—if you need help, our team will be

happy to assist you!”

       25.     Later on December 17, Plaintiff responded by texting “Stop” in response four more

times. Build-a-Bear made the same response as to the prior “stop” texts (“You have been opted

out ….”).

       26.     On January 21, 2021, Build-a-Bear sent the following text message to Plaintiff:

               BABW: Hi, Friend! Bear hugs make the best gift, especially when
               its National Hug Day! Shop huggable friends online starting at only
               $10. https://bit.ly/2LRZvKo

       27.     On January 26, 2021, Build-a-Bear sent the following text message to Plaintiff:

               BABW: PRO TIP—Order sweet gifts by tomorrow for delivery in
               time for Valentine’s Day using standard shipping. Channel Your
               Inner Cupid! https://bit.ly/2NZP1JG

       28.     Later on January 26, Plaintiff texted back twice: “Stop” and “Quit.” This prompted

two more identical responses (“You have been opted out ….”).

       29.     Plaintiff’s efforts to opt out of text messages show that Build-a-Bear’s systems for

opting out are nonfunctional and that consumers were powerless to opt out of Build-a-Bear’s text

messages.

       30.     According to its Global Privacy Policy as of January 2021, Build-a-Bear “honors a

‘once out—always out’ policy. Once you opt out, you are opted out of that type of communication

and that brand until we are explicitly told in writing to opt you back in.”

       31.     Even when Plaintiff repeatedly and unambiguously revoked consent, Build-a-Bear

knowingly and willfully sent several text messages to Plaintiff, a member of the Do Not Call




                                                 5
                                                                                                          Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 7 of 24 PageID #: 13




Registry, in violation of its “once out—always out” policy. After his revocations, Plaintiff never

explicitly told Build-a-Bear in writing that he was consenting to receive text messages.

       32.       Plaintiff maintained his registration on the Do Not Call Registry because he did not

want to receive unwelcome and annoying communications like the text messages he received from

Build-a-Bear. Plaintiff was annoyed by the text messages he received from Build-a-Bear. He felt

that the text messages, particularly after his repeated requests to opt out, were intrusive and that

they interfered with his use and enjoyment of his telephone.

                                 CLASS ACTION ALLEGATIONS

       33.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

stated herein.

       34.       Plaintiff brings this action on behalf of himself and the following class in

accordance with Missouri Supreme Court Rule 52.08:

                 All natural persons residing in the United States who (1) registered
                 their telephone number(s) with the Do Not Call Registry; (2) at least
                 31 days after Do Not Call registration and in the four years prior to
                 the filing of this lawsuit, received two or more text message
                 solicitations from Build-a-Bear within a 12-month period; and (3)
                 prior to receiving such text message solicitations, had revoked
                 consent to receiving such text message solicitations from Build-a-
                 Bear.

       35.       Plaintiff maintains the right to redefine the Class as necessary to reflect the

developing facts as litigation and discovery progresses.

       36.       The Class is numerous which makes joinder of individual plaintiffs impractical.

The actual number of Class Members is not precisely known, but the Class is likely to consist of

at least 40 and possibly hundreds of individuals. Build-a-Bear has information that will allow the

number of Class Members to be more precisely determined.




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                                                                                                    Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 8 of 24 PageID #: 14




       37.     This litigation presents several questions of law and fact that are common to both

Plaintiff and the Class, and these questions predominate over any questions that may affect

individual class members. These questions are, but not limited to the following:

               a.     Whether Build-a-Bear sent text messages to persons who had previously

                      registered their telephone numbers with the National Do Not Call Registry;

               b.     Whether Build-a-Bear sent text messages to members of the Do Not Call

                      Registry without their consent;

               c.     Whether Build-a-Bear sent text messages to members of the Do Not Call

                      Registry after those persons sent communications revoking their consent;

               d.     Whether Build-a-Bear sent text messages to members of the Do Not Call

                      Registry for the purpose of advertising any property, goods, or services;

               e.     Whether Build-a-Bear willfully or knowingly violated the TCPA and its

                      regulations.

       38.     Plaintiff’s claims are typical to all Class Members. Through a common course of

misconduct, including Build-a-Bear’s failure to maintain effective systems for Class Members to

opt out of text messages, Plaintiff and Class Members suffered similar types of harm.

       39.     Plaintiff will fairly and adequately represent and protect the interests of Class

Members. Plaintiff retained experienced counsel with the necessary expertise and resources to

prosecute this class action litigation. Plaintiff and his counsel do not anticipate circumstances

where Plaintiff’s interests would conflict with those of Class Members.

       40.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The value of Class Members’ claims is low enough that it is not




                                                7
                                                                                                        Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
    Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 9 of 24 PageID #: 15




economical for Class Members to individually litigate their claims. Proceeding as a class will

prevent inconsistent rulings and judgments.

       41.       Build-a-Bear acted on grounds that generally apply to the Class such that injunctive

relief and money damages is appropriate. Such grounds include injunctive relief to prevent Build-

a-Bear from texting members of the Do Not Call Registry who have not consented or revoked their

consent to text messages.

                                             COUNT I
             VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
                                     (47 U.S.C. § 227, et seq.)
              (Individually and on Behalf of the National Do Not Call Registry Class)

       42.       Plaintiff re-alleges all preceding paragraphs of this Complaint and incorporates

them here by reference.

       43.       The TCPA grants a private right of action to a person who receives more than one

telephone call within a 12-month period in violation of TCPA laws and regulations protecting

members of the Do Not Call Registry. See 47 U.S.C. § 227(c)(5).

       44.       For purposes of the TCPA, “telephone calls” include text messages. See Federal

Communications Commission, Public Notice, Text Message Senders Must Comply with the

Telephone Consumer Protection Act, DA 16-1299 (Nov. 18, 2016); see generally Satterfield v.

Simon & Schuster, Inc., 569 F.3d 946, 954 (9th Cir. 2009).

       45.       TCPA regulations forbid telephone solicitations to any residential telephone

subscriber who registered his or her telephone number on the Do Not Call Registry. 47 C.F.R. §

64.1200(c)(2).

       46.       For purposes of the TCPA, “telephone solicitation” is defined as a “call or message

for the purpose of encouraging the purchase … [of] property, goods, or services” but excludes a




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                                                                                                         Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
   Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 10 of 24 PageID #: 16




call or message “to any person with that person’s prior express invitation or permission.” 47 U.S.C.

§ 227(a)(4).

       47.     At all times relevant to the allegations in this Complaint, Plaintiff was a residential

telephone subscriber with his telephone number registered to the Do Not Call Registry.

       48.     Within a 12-month period, including but not limited to the period from November

2020 through the date of the filing of this Complaint, Build-a-Bear sent more than one text message

to Plaintiff. The text messages encouraged Plaintiff to purchase Build-a-Bear’s goods and services,

specifically the stuffed animals and characters that Build-a-Bear constructs and offers for sale.

       49.     Plaintiff did not invite Build-a-Bear to send him text messages or grant Build-a-

Bear permission to send him text messages. Assuming strictly for the sake of argument that

Plaintiff ever granted prior consent to text messages from Build-a-Bear, Plaintiff unambiguously

revoked consent through text messages to Build-a-Bear on November 29, 2020; December 7, 2020;

December 17, 2020; and January 26, 2021.

       50.     A person aggrieved by violations TCPA laws and regulations protecting members

of the Do Not Call Registry may pursue injunctive relief; recover actual monetary loss or up to

$500 per each violation, whichever is greater; or both. If violations of TCPA regulations protecting

members of the Do Not Call registry are knowing or willful, the damages may be tripled. 47 U.S.C.

§ 227(c)(5).

       51.     Because Build-a-Bear disregarded Plaintiff’s repeated attempts to revoke consent

to text messages, and because its systems for revoking consent by text message are ineffective and

nonfunctional, Build-a-Bear’s violations are knowing and willful.

       52.     Plaintiff and the Class accordingly demand judgment against Build-a-Bear for

statutory damages, treble damages, attorney fees and costs, and any other relief provided by law.




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                                                                                                      Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
   Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 11 of 24 PageID #: 17




                                    PRAYER FOR RELIEF

       Plaintiff Benjamin Ruby prays for relief as follows:

       a.      Class certification under Missouri Supreme Court Rule 52.08 and appointment of

the undersigned counsel as Class Counsel.

       b.      Damages in an amount to be determined at trial, or in the alternative, statutory

damages under the TCPA of no less than $500 per violation, and up to $1,500 per each violation

determined to be willful.

       c.      All other damages and relief authorized by statute or law, including but not limited

to attorney fees and costs.

       d.      A decree enjoining Defendant from further violations of the TCPA including, but

not limited to, violations of TCPA regulations protecting members of the Do Not Call Registry.

       e.      All courts costs and requiring Build-a-Bear to pay for class administration.

       f.      All applicable pre-judgment and post-judgment interest.

       g.      Any other relief this Court deems just and equitable.




                                               10
                                                                                      Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 12 of 24 PageID #: 18




                                     JURY TRIAL DEMANDED

                                     BUTSCH, ROBERTS & ASSOCIATES LLC

                                  By: /s/Christopher E. Roberts
                                     David T. Butsch #37539
                                     Christopher E. Roberts #61895
                                     231 South Bemiston Ave., Suite 260
                                     Clayton, MO 63105
                                     (314) 863-5700 (telephone)
                                     (314) 863-5711 (fax)
                                     butsch@butschroberts.com
                                     roberts@butschroberts.com


                                  Shawn J. Wanta (pro hac application forthcoming)
                                  Scott Moriarity (pro hac application forthcoming)
                                  BAILLON THOME JOZWIAK & WANTA LLP
                                  100 South Fifth Street, Suite 1200
                                  Minneapolis, MN 55402
                                  Telephone: (612) 252-3570
                                  Fax: (612) 252-3571
                                  samoriarity@baillonthome.com
                                  sjwanta@baillonthome.com

                                  ATTORNEYS FOR PLAINTIFF




                                    11
                                                                              Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 13 of 24 PageID #: 19
                                                             21SL-CC03859
                                                                              Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 14 of 24 PageID #: 20
                                                                              Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 15 of 24 PageID #: 21
                                                             21SL-CC03859




/s/Molly Thal


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                                                                              Electronically Filed - St Louis County - August 24, 2021 - 11:52 AM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 16 of 24 PageID #: 22
                Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 17 of 24 PageID #: 23

             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 21SL-CC03859
 STANLEY JAMES WALLACH
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 BENJAMIN RUBY                                                  CHRISTOPHER ELISHA ROBERTS
                                                                SUITE 200
                                                                231 SOUTH BEMISTON AVE.
                                                          vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 BUILD-A-BEAR WORKSHOP, INC.                                    ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Other Tort                                                  CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: BUILD-A-BEAR WORKSHOP, INC.
                                      Alias:
  TINA KLOCKE, REGISTERED AGENT
  1954 INNERBELT BUSINESS CTR DR
  ST. LOUIS, MO 63114

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        24-AUG-2021                                           ______________________________________________
                                         Date                                                                      Clerk
                                       Further Information:
                                       MT
                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years who
           permanently resides with the Defendant/Respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                   _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________            _____________________________________________
                                                                         Date                                        Notary Public




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7544        1    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 18 of 24 PageID #: 24
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7544    2    (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                    54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
               Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 19 of 24 PageID #: 25
                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7544   3   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
              Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 20 of 24 PageID #: 26
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-99) SM30 (SMCC) For Court Use Only: Document ID# 21-SMCC-7544   4   (Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                                                                                                  54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
            Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 21 of 24 PageID #: 27




               County Satellite Court Now Open in St. Ann
               Hours: Mon-Fri 8:30 a.m. to 5:00 p.m. FREE PARKING

For the convenience of North County residents, a satellite branch of the St. Louis County Circuit
Court is now open at the St. Louis County Government Center Northwest at the 715 Northwest Plaza
Drive in St. Ann.
Attending Court Hearings Remotely using E-Courts
If you are scheduled to appear in court, you can access the courtroom remotely using the public
computer stations (E-courts) in St. Ann and Clayton. These are available for use when courtroom
access is restricted due to the pandemic.
Please note: Hearings for juvenile and paternity cases are confidential, and can only be accessed
from the Clayton E-court at this time.

Be sure to bring your paperwork with you; you will need your case number, as well as the date,
time and number of the Division where you are scheduled to appear.

Filing Pleadings/New Petitions
If you are representing yourself, you may file your paperwork at the St. Ann satellite court, in
addition to the Clayton courthouse, using the secure drop box located inside the Court reception area.
Filing Orders of Protection
Starting March 1, you may file for an Order of Protection at the Adult Abuse office in the St. Ann
satellite court, in addition to the Clayton courthouse. Clerks will be available on-site to help you fill
out and file the necessary paperwork.

                            For more information call: 314-615-8029
                                                                                              Electronically Filed - St Louis County - August 24, 2021 - 03:12 PM
   Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 22 of 24 PageID #: 28




                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI

  BENJAMIN RUBY, on behalf of himself         )
  and all others similarly situated,          )
                                              )
                                              )
           Plaintiff,                         )
                                              )
                                              )    Case No. 21SL-CC03859
  v.                                          )
                                              )    Div. 12
  BUILD-A-BEAR WORKSHOP, INC.                 )
                                              )
                                              )
           Defendant.                         )

                                ENTRY OF APPEARANCE

       Comes now David T. Butsch of Butsch Roberts & Associates LLC and hereby enters his

appearance on behalf of Plaintiff Benjamin Ruby.



                                           BUTSCH ROBERTS & ASSOCIATES LLC


                                        By: /s/ David T. Butsch
                                          David T. Butsch #37539
                                          231 South Bemiston Ave., Suite 260
                                          Clayton, MO 63105
                                          (314) 863-5700 (telephone)
                                          (314) 863-5711 (fax)
                                          Butsch@ButschRoberts.com

                                           Attorneys for Plaintiff


                               CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was served August 24, 2021 by
operation of the Court’s electronic filing system.

                                              /s/ David T. Butsch
                                                                              Electronically Filed - St Louis County - August 25, 2021 - 09:41 PM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 23 of 24 PageID #: 29
                                                                              Electronically Filed - St Louis County - August 25, 2021 - 09:41 PM
Case: 4:21-cv-01152 Doc. #: 1-1 Filed: 09/24/21 Page: 24 of 24 PageID #: 30
